                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:17-cv-00010-MOC-DSC


  THE UNITED STATES OF AMERICA, and

  THE STATES OF CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, FLORIDA,
  GEORGIA, HAWAII, ILLINOIS, INDIANA, IOWA,
  LOUISIANA, MARYLAND, MASSACHUSETTS,
  MICHIGAN, MINNESOTA, MONTANA,
  NEVADA, NEW HAMPSHIRE, NEW JERSEY,
  NEW MEXICO, NEW YORK, NORTH
  CAROLINA, OKLAHOMA, RHODE ISLAND,
  TENNESSEE, TEXAS, VERMONT, VIRGINIA,
  AND WASHINGTON; THE DISTRICT OF
  COLUMBIA; THE COUNTY OF ALLEGHENY;
  AND THE CITIES OF CHICAGO, NEW YORK,
  AND PHILADELPHIA,

  ex rel. JOEL STEVENS

                             Plaintiffs,

  v.

  ATRICURE INC., ST. HELENA HOSPITAL, AND
  ADVENTIST HEALTH;

                             Defendants.



              ATRICURE’S REPLY IN SUPPORT OF ITS MOTION TO STAY

        On September 10, 2021, the Relator submitted a response to AtriCure Inc.’s (“AtriCure”)

Motion to Stay (Doc. No. 55) in which the Relator indicated that he now consents to the Motion to

Stay. In light of the Relator’s consent, and pursuant to Local Rule 7.1(e), AtriCure informs the Court

that it does not wish to submit a reply brief. Accordingly, AtriCure respectfully requests that this

Motion to Stay be granted.


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        Respectfully submitted this 15th day of September, 2021.

                                                    s/ Brian S. Cromwell_____________________
                                                    Brian S. Cromwell
                                                    N.C. State Bar No. 23488
                                                    Eric A. Frick
                                                    N.C. State Bar No. 49212
                                                    PARKER POE ADAMS & BERNSTEIN LLP
                                                    620 S. Tryon Street, Suite 800
                                                    Charlotte, NC 28202
                                                    Tel. (704) 372-9000
                                                    Fax. (704) 334-4706
                                                    briancromwell@parkerpoe.com
                                                    ericfrick@parkerpoe.com

                                                    Ralph J. Caccia (pro hac vice)
                                                    Brandon J. Moss (pro hac vice)
                                                    WILEY REIN LLP
                                                    1776 K Street N.W.
                                                    Washington, DC 20006
                                                    Tel: (202) 719-7000
                                                    Fax: (202) 719-7049
                                                    rcaccia@wiley.law
                                                    bmoss@wiley.law

                                                    Counsel for Defendant AtriCure, Inc.




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                               CERTIFICATE OF SERVICE
        The undersigned hereby certifies that the foregoing ATRICURE’S REPLY IN

SUPPORT OF ITS MOTION TO STAY was electronically filed with the Clerk of the Court

using the CM/ECF system and served upon counsel of record through the Court’s electronic case

filing system.



        This 15th day of September, 2021.

                                                 s/ Brian S. Cromwell_____________________
                                                 Brian S. Cromwell
                                                 N.C. State Bar No. 23488
                                                 Eric A. Frick
                                                 N.C. State Bar No. 49212
                                                 PARKER POE ADAMS & BERNSTEIN LLP
                                                 620 S. Tryon Street, Suite 800
                                                 Charlotte, NC 28202
                                                 Tel. (704) 372-9000
                                                 Fax. (704) 334-4706
                                                 briancromwell@parkerpoe.com
                                                 ericfrick@parkerpoe.com

                                                 Counsel for Defendant AtriCure, Inc.




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